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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
               Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON              CASE NO. 1:20-CV-484-RDA-TCB
  NELSON; 2010 IRREVOCABLE TRUST;
  SIGMA REGENERATIVE SOLUTIONS
  LLC; CTBSRM, INC.; RODNEY
  ATHERTON; DEMETRIUS VON LACEY;
  RENRETS LLC,
               Defendants.

  800 HOYT LLC,
               Intervening Interpleader
               Plaintiff, Intervening
               Interpleader Counter-
               Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
               Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,
            Interpleader Defendants,
            Interpleader Counter-Plaintiffs.

                  PLAINTIFFS’ REPLY IN SUPPORT OF
    MOTION TO COMPEL PRODUCTION OF DOCUMENTS AND PRIVILEGE LOG
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         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Amazon”) respectfully sub-

  mit this reply to Defendant Casey Kirschner’s Response (Dkt. __ “Opp.”) to Amazon’s motion to

  compel production of documents and privilege log, Dkt. 822.

  I.     Amazon’s Motion Is Ripe And Meritorious.

         Amazon served Mr. Kirschner with its initial Requests for Production (“RFPs”) on Decem-

  ber 10, 2021. In response, Mr. Kirschner produced some documents, but he failed to produce or

  even disclose the existence of key responsive documents, including a signed statement he provided

  to federal prosecutors admitting his involvement in the fraud. Mr. Kirschner only disclosed that

  he possessed this document when he sat for a deposition on May 10, 2022, five months after the

  RFPs were served. Mr. Kirschner does not dispute that the document is discoverable. Opp. 4. In

  his deposition Mr. Kirschner claimed for the first time that he could not produce this previously

  undisclosed document due to a purported agreement he concluded with federal prosecutors.

         Over a period of more than a month following his deposition, Amazon and Mr. Kirschner’s

  counsel exchanged a score of e-mails in which Amazon sought to confer about Mr. Kirschner’s

  failure to fulfill his discovery obligations. Dkt. 823-2. Mr. Kirschner’s counsel repeatedly de-

  clined to engage, insisting that he did not “see what we need to meet and confer about,” and refus-

  ing even to explain which documents or how many documents Mr. Kirschner continued to with-

  hold. Dkt. 823-2 at 3, 4. Instead Mr. Kirschner’s counsel refused to speak with Amazon until Mr.

  Kirschner had the opportunity to “work with the government to arrive at a solution” yet made no

  effort to confer with federal prosecutors until Amazon moved to compel. Dkt. 823-2 at 9. Despite

  Amazon’s frequent outreach following Mr. Kirschner’s deposition, Mr. Kirschner’s response brief

  (at 4–5) confirms that when the motion was filed, Mr. Kirschner’s counsel had yet to have a con-




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  versation with the federal prosecutors who he claims must have approve any disclosure—a con-

  versation that Mr. Kirschner and his counsel should have initiated months ago when they first

  realized the documents were responsive.

         Throughout these discussions, Mr. Kirschner refused to describe or identify the letter

  agreement that purportedly restricted his ability to produce responsive documents. Mr. Kirschner

  and his counsel first identified the document the letter in his Opposition to this motion. As recently

  as May 24, Mr. Kirschner’s counsel led Amazon to believe that it did not have the document,

  stating that “we will not provide Amazon with the NDA or any other documents Mr. Kirschner

  received from the government until we can assess what is covered by the NDA.” Dkt. 823-2 at 9.

  Similarly, Mr. Kirschner’s Opposition details the alleged difficulties he has had with his eDiscov-

  ery vendor and the problems caused by the volume of discovery (“substantial”) still withheld—

  both issues that could have been productively addressed in a meet and confer with Amazon. Opp.

  8. This statement is the first indication Amazon has received that anything more than a handful

  of documents have been withheld. Mr. Kirschner’s Opposition also raises, for the first time, the

  unsubstantiated assertion that the photobook described in his deposition, which memorializes his

  travel with his coconspirators, is no longer in his possession. Opp. 2 n.1. Each of these issues

  could have been addressed through the meet and confer process that Mr. Kirschner’s counsel re-

  fused to engage in.

         Mr. Kirschner also argues that the motion is moot. Opp. 5. Not so. The late-breaking

  disclosures made only recently, including in Mr. Kirschner’s Opposition, simply confirm Mr.

  Kirschner’s failure to comply with his discovery obligations. Now, less than three hours before

  this filing was due, and seemingly in response to this motion, Mr. Kirschner’s counsel represented




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  that Mr. Kirschner would produce some of the information Amazon requested in December, in-

  cluding reverse proffers provided to Mr. Kirschner’s counsel, the FBI statement, any draft plea

  offers provided to Mr. Kirschner, and general correspondence sent to Mr. Kirschner by federal

  prosecutors. Ex. 2. Amazon has not yet received these documents, does not know when they will

  be produced, has not had ample time to determine whether such a production would moot this

  motion, and does not know whether Mr. Kirschner will provide an adequate log of other responsive

  information he continues to withhold, if any. While Amazon is unable to conclude therefore that

  this motion will become moot, it is willing to hold it in abeyance for two weeks, to allow further

  efforts to meet and confer with Mr. Kirschner.

  II.    The Amended Letter Agreement With U.S. Attorney’s Office Does Not Excuse Mr.
         Kirschner’s Discovery Violations

         The letter Mr. Kirschner first raised at his deposition, and identified to Amazon for the first

  time in his response brief, provides no basis for his failure to produce key responsive documents.

         The letter Mr. Kirschner identifies as a nondisclosure agreement does not in fact bar him

  from producing the documents that Amazon seeks. See Ex. 1. As a preliminary matter, the letter

  agreement applies solely to the non-disclosure of “pre-indictment discovery” including “certain

  data, documents, and other materials collected by law enforcement,” received by Mr. Kirschner

  from federal prosecutors, not documents he provided to them. See Ex. 1. Mr. Kirschner fails to

  explain how his own statements to law enforcement, not to mention the other unrelated documents

  he acknowledges he may possess and yet declines to identify, could be governed by this agreement.

         More importantly, the letter also concedes that any restrictions laid out therein may be

  “supplemented, superseded, or modified by an order issued by a District Court Judge or Magistrate

  Judge of the United States District Court for the Eastern District of Virginia.” Ex. 1 at 2. The

  letter thus contemplates precisely the type of motion that Amazon has filed, inviting this Court to


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  direct Mr. Kirschner to comply with his discovery obligations by disclosing the documents he

  received from federal prosecutors. Mr. Kirschner, therefore, runs no risk of breaching the letter’s

  terms by disclosing documents in response to an order of this Court. 1

            But even if this letter were considered an NDA (and it is not), “an NDA cannot be used to

  shield information from discovery.” Micron Tech. Inc. v. Factory Mut. Ins. Co., 2022 WL

  1687156, at *2 (N.D. Cal. May 26, 2022) (collecting authorities); see also Dkt. 822 at 9–10. Even

  when documents are in fact subject to an NDA, “the confidentiality of those documents is protected

  not by denying access to them, but by entering a protective order to cover them.” Shvartser v.

  Lekser, 270 F. Supp. 3d 96, 98 (D.D.C. 2017) (quoting Promotional Mktg. Insights, Inc. v. Affili-

  ated Computer Servs., Inc., 2012 WL 3292888, at *1 (D. Minn. Aug. 13, 2012)). Thus, even if

  the Court were to construe the letter as an NDA, whatever protections it required would be satisfied

  through the protective order entered in this case, not through withholding discovery entirely.

  III.      The Response Confirms That Mr. Kirschner Improperly Concealed His Withhold-
            ing Of Responsive Discovery

            Mr. Kirschner now concedes that he has withheld responsive documents that are “likely

  discoverable under F.R.C.P. 26,” Opp. 4, and further concedes that documents held by his counsel,

  including prior criminal counsel, are subject to discovery, Opp. 7. Despite these concessions he

  continues to withhold these materials.




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         Mr. Kirschner implies that, during a joint call with Amazon and the defendants in this case,
         federal prosecutors insinuated that breaches of the letter’s terms would lead to his prosecution.
         This is a gross mischaracterization. During that call, federal prosecutors suggested that a stay
         of civil discovery may be appropriate in this case. They further noted that statements made in
         the course of civil discovery could play a role in the federal investigation and that any fraud or
         perjury could have consequences in the ongoing criminal investigation. Contrary to Mr.
         Kirschner’s suggestion, they did not misconstrue agreements like the letter Mr. Kirschner iden-
         tified as independent bases for federal prosecution.

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         Mr. Kirschner has compounded his failure to actually produce the responsive documents

  by, in two different respects, concealing from Amazon the very fact that he has knowingly withheld

  responsive discovery. First, Mr. Kirschner has yet to describe the documents in his possession that

  are responsive to Amazon’s discovery requests and yet remain unproduced. He admits that he

  continues to withhold responsive documents and that “some of th[ose] documents” may implicate

  his agreement with prosecutors. Opp. 3 (emphasis added). But he has refused to identify the

  documents that are being withheld on the basis of that agreement, and he has no basis for with-

  holding the other responsive documents that he concedes do not implicate that agreement.

         Second, Mr. Kirschner has not produced a log identifying responsive documents generated

  after the criminal investigation began—during the period for which Mr. Kirschner has not waived

  privilege. Rather than listing and logging any privilege-based objections, his counsel blithely as-

  serted that any such documents are protected as “communications with his counsel or covered by

  a joint defense privilege.” Dkt. 823-2 at 3. But even if that were true, Mr. Kirschner is still obli-

  gated to log the documents so that Amazon can evaluate the legitimacy of both his privilege claims

  and his reliance on the purported agreement with federal prosecutors. Clark v. Trans Union LLC,

  2017 WL 11504623, at *8 (E.D. Va. Mar. 1, 2017); see also Fed. R. Civ. P.26(a)(5)(A).

         Mr. Kirschner should thus be ordered to produce any responsive documents—including

  those he claims are covered by his agreement with federal prosecutors—and to log his privilege

  objections to any documents generated after the close of his privilege waiver.

  IV.    Mr. Kirschner’s Purported Pro Se Status Does Not Excuse His Failure To Produce

         Mr. Kirschner insists that his failure to comply with his discovery obligations should be

  excused (and that no defenses should be deemed waived) based on his pro se status. Opp. 6–8.

  At the same time that he asks to be treat as a pro se litigant, Mr. Kirschner faults Amazon for



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  attempting to confer with him regarding his deficient discovery responses. Opp. 7 n.5. This mis-

  represents the correspondence and confirms the improper advantage Mr. Kirschner is attempting

  to draw from his pseudo pro se status.        Amazon repeatedly attempted to confer with Mr.

  Kirschner’s counsel regarding these deficiencies and has not corresponded directly with Mr.

  Kirschner on these issues. See generally Dkt. 823-2. Mr. Kirschner cannot have it both ways—

  either he is a pro se party who must correspond directly with opposing counsel; or he is represented

  by counsel, in which case his counsel can have no excuse for their failure to confer in good faith.

         The pattern of Mr. Kirschner’s conduct over the past months suggest he is no longer a pro

  se party. At his deposition, Mr. Kirschner was represented by two attorneys and Amazon has

  corresponded extensively with Mr. Kirschner’s counsel in connection with this motion. Dkt. 823-

  2. Mr. Kirschner also certified in his Opposition that his counsel “[p]repared, or assisted in the

  preparation of, this document.” Opp. 12 (Certification). Amazon obtained Mr. Kirschner’s Op-

  position via e-mail from Mr. Kirschner’s counsel. Yet Mr. Kirschner insists that his lack of dili-

  gence in responding to discovery should be excused based on his pro se status.

         This conduct throughout the discovery process, and in particular in the period leading up

  to and after his deposition, confirms that Mr. Kirschner is not long a pro se party entitled to defer-

  ential treatment. Under the Rules of this district, “[a]ny attorney who prepares any document that

  is to be filed in this Court by a person who is known by the attorney . . . to be proceeding pro se,

  shall be considered to have entered an appearance in the proceeding . . . .” L. Civ. R. 83.1(M)(1).

  Such assistance, even when disclosed as in Mr. Kirschner’s certification, terminates a litigant’s

  pro se status because “it [is] improper for lawyers to draft or assist in drafting . . . documents

  submitted to the Court on behalf of litigants designated as pro se.” Laremont-Lopez v. Southeast-

  ern Tidewater Opportunity Ctr., 968 F. Supp. 1075, 1077 (E.D. Va. 1997). That is because “the



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  indulgence extended to the pro so party has the perverse effect of skewing the playing field rather

  than leveling it” when the pro se litigant is in fact assisted by counsel. Id. at 1078. In this situation,

  “the pro se [party] enjoys the benefit of the legal counsel while also being subjected to the less

  stringent standard reserved for those proceeding without counsel.” Id. Throughout this process

  Mr. Kirschner has had the assistance of counsel. His failure to comply with his discovery obliga-

  tions therefore cannot be excused, and the Court should deem any remaining objections to produc-

  tion (including those as-yet unidentified) waived.

                                                Conclusion

          This Court should issue an order compelling him to produce all responsive, non-privileged

  documents that he is currently withholding—based on his purported agreement with federal pros-

  ecutors or otherwise—and to log any responsive documents that he claims are privileged.




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   Dated: June 16, 2022                          Respectfully submitted,

                                                 /s/ Michael R. Dziuban             _




   Veronica S. Moyé (pro hac vice)               Elizabeth P. Papez (pro hac vice)
   GIBSON, DUNN & CRUTCHER LLP                   Patrick F. Stokes (pro hac vice)
   2001 Ross Avenue, Suite 2100                  Jason J. Mendro (pro hac vice)
   Dallas, TX 75201                              Claudia M. Barrett (pro hac vice)
   Telephone: (214) 698-3100                     David W. Casazza (pro hac vice)
   Facsimile: (214) 571-2900                     Amanda Sterling (pro hac vice)
   vmoye@gibsondunn.com                          Michael R. Dziuban (Va. State Bar No.
                                                 89136)
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 1050 Connecticut Avenue, N.W.
                                                 Washington, D.C. 20036-5306
                                                 Telephone: (202) 955-8500
                                                 Facsimile: (202) 467-0539
                                                 epapez@gibsondunn.com
                                                 pstokes@gibsondunn.com
                                                 jmendro@gibsondunn.com
                                                 cbarrett@gibsondunn.com
                                                 dcasazza@gibsondunn.com
                                                 asterling@gibsondunn.com
                                                 mdziuban@gibsondunn.com

                 Counsel for Amazon.com, Inc. and Amazon Data Services, Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 16, 2022, I electronically filed the foregoing with the Clerk of

   Court using the CM/ECF system. I will then send the document and a notification of such filing

   (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:

   CTBSRM, Inc.                                       Casey Kirschner
   6870 W 52nd Ave., Ste. 203                         635 N. Alvarado Lane
   Arvada, CO 80002                                   Plymouth, MN 55447
                                                      By email: casey.kirschner@gmail.com
   Demetrius Von Lacey
   2845 Des Moines Dr.,                               2010 Irrevocable Trust
   Fort Collins, CO 80525                             6870 W 52nd Ave., Ste. 203
                                                      Arvada, CO 80002

                                                      Sigma Regenerative Solutions, LLC
                                                      6870 W 52nd Ave., Ste. 203
                                                      Arvada, CO 80002



                                                 s/ Michael R. Dziuban
                                                 Michael R. Dziuban
                                                 GIBSON, DUNN & CRUTCHER LLP
                                                 1050 Connecticut Avenue, N.W.
                                                 Washington, D.C. 20036-5306
                                                 Telephone: (202) 955-8500
                                                 Facsimile: (202) 467-0539
                                                 mdziuban@gibsondunn.com

          Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.




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